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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                      MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                 SECTION “N” (5)

                                                 JUDGE MILAZZO
                                                 MAG. JUDGE NORTH

                                                 PLAINTIFF’S MOTION FOR LEAVE
                                                 TO FILE AN AMENDED COMPLAINT


THIS DOCUMENT RELATES TO:                        Civil Action No.: 2:17-cv-16966-JTM-MBN

THELMA FORD v. SANOFI US SERVICES
INC, ET AL.


       THE COURT, having considered Plaintiff’s Motion for Leave to File an Amended

Complaint, and for good cause shown, it is hereby Ordered that Plaintiffs’ motion is GRANTED,

and that Plaintiff may file the Amended Short Form Complaint, which was attached as Exhibit A

to Plaintiff’s Motion.



       So ordered this ___ day of                 , 2023.




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                                                            U.S. District Judge




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